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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------- x

LORI GJENASHAJ and QAMIL GJENASHAJ,

                                                              Plaintiffs,      PROPOSED JOINT
                                                                               PRE-TRIAL ORDER
                                -against-

THE CITY OF NEW YORK, LIEUTENANT MATTHEW                                       No. 19 Civ. 4142 (WHP)
HARRISON individually and in his official capacity,
POLICE OFFICER GIANCARLO MARATEA individually
and in his official capacity, POLICE OFFICER RAYCHEL
CAMPANELLA-RIVERA individually and in her official
capacity, POLICE OFFICER VANESA MEDINA
individually and in her official capacity, POLICE OFFICER
BRUNILA SANTANA individually and in her official
capacity, and POLICE OFFICER THOMAS GUGLIUCCI
individually and in his official capacity, employees of the
City of New York,


                                                            Defendants.

--------------------------------------------------------------------------x


I.       The Full Caption of the Action.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------- x

LORI GJENASHAJ,

                                                         Plaintiff,

                       -against-

LIEUTENANT MATTHEW HARRISON,
POLICE OFFICER GIANCARLO MARATEA

                                                         Defendants.

-------------------------------------------------------------------------- x
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II.      Names, Addresses, Telephone Numbers, and Email Addresses of Trial Counsel.

         •   Attorneys for Plaintiff:
             Edward Stone, Esq.                       Joseph Irving Stone, Esq.
             Edward Stone Law P.C.                    310 Lexington Avenue, Suite 9-G
             575 Lexington Avenue                     New York, NY 10016
             14th Floor
             New York, NY 10022

             Mailing Address:
             175 W. Putnam Ave., 2nd Floor
             Greenwich, CT 06830
             (203) 504-8425
             eddie@edwardstonelaw.com

         •   Attorneys for Defendants:
             Brachah Goykadosh
             Senior Counsel
             New York City Law Department
             100 Church Street
             New York, New York 10007
             (212) 356-3523
             bgoykado@law.nyc.gov
             (trial partner to be assigned)

III.     Subject Matter Jurisdiction.

         •   Plaintiff’s Statement. This Court has subject matter jurisdiction over this action
             pursuant to 28 U.S.C. §§ 1331m 1343 and 42 U.S.C. § 1983. The subject matter
             jurisdiction of the Court is not contested.

         •   Defendants’ Statement. Defendants do not contest subject matter jurisdiction.


IV.      Claims and Defenses, Which Remain to Be Tried; and All Previously Asserted
         Claims and Defenses Which are Not to Be Tried.

•        Plaintiff’s Summary 1. Plaintiff Lori Gjenashaj brings this federal civil rights action for
         excessive force against two members of the New York City Police Department
         (“NYPD”): Lieutenant Matthew Harrison (“Harrison”) and Police Officer Giancarlo
         Maratea (“Maratea”). Plaintiff maintains that Lieutenant Harrison and Officer Maratea
1
  Defendants assert that despite the length of plaintiff’s summary, the only remaining claim to be
tried is a single excessive force claim against defendants Lieutenant Harrison and Police Officer
Maratea based on the shooting. ECF No. 109.
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  used excessive force by discharging a total of 5 rounds at Plaintiff Gjenashaj at point
  blank range striking her twice and causing her significant injuries in the vicinity of
  Highland Avenue and Howard Avenue, Staten Island New York (the “Shooting”) . After
  the Shooting, Plaintiff was handcuffed, subdued and forcibly held face down bleeding in
  the street where she complained of pain from pressure on her back being exacerbated by
  a NYPD Officer’s foot on her back. Plaintiff also complained of difficulty breathing
  after the Shooting and while Plaintiff was being restrained by other members of the
  NYPD. Plaintiff was transported from the scene of the shooting to the Richmond
  University Medical Center, Staten Island, New York where she remained for
  approximately one week before she was transported to the Elmhurst General Hospital,
  Queens, New York where she remained for an additional 25 days. Plaintiff suffered
  numerous injuries from gunshot wounds, including wounds to her right upper back and
  right axilla, a 3 cm laceration to the posterior aspect of right upper extremity.

  Plaintiff maintains that when she was approached by the Defendants she was alone in her
  vehicle, had come to a complete stop and was surrounded by police vehicles and heavily
  armed police officers. Plaintiff further maintains that she exited her vehicle with her
  hands up and posed no threat whatsoever to either Lieutenant Harrison or Officer
  Maratea. No civilians were in the area when Plaintiff exited her vehicle.

  A starter pistol that had been discharged twice by Plaintiff earlier in the day was under
  the passenger front seat of the vehicle that Plaintiff was driving prior to the Shooting.
  Plaintiff maintains that Defendants knew or should have known that she had exhibited
  chaotic and erratic behavior and that she was an Emotionally Disturbed Person (“EDP”).
  Plaintiff intends to prove that Defendants were aware of Plaintiff’s emotional state and
  mental health issues and failed to follow NYPD EDP Policy. Plaintiff will also prove
  that Officer Maratea deliberately left his BWC at the precinct so as to avoid securing
  video footage of the shooting.

  Plaintiff’s husband will testify that he informed police officers of Plaintiff’s need for
  immediate medical attention due to her unstable condition both when he was forcibly
  removed from the vehicle Plaintiff was driving and numerous other times when he was
  held handcuffed to a chair at the police station. Plaintiff will also show all of the
  information that was available to Defendants prior to the Shooting, including evidence
  that the starter pistol only fired blanks and was not a real pistol capable of harming
  Defendants in any way.
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          •   Defendants’ Summary.

                  o Defenses Which Remain to Be Tried.

                             Any injury alleged to have been sustained resulted from plaintiff’s
                              own culpable or negligent conduct, and/or the conduct of third parties,
                              and was not the proximate result of any act of defendants.

                             Plaintiff has failed to mitigate any damages.

                             Plaintiff provoked any incident.

                             Any force used by defendants was reasonable under the circumstances.

                             Defendants have not violated any rights, privileges, or immunities
                              under the Constitution or laws of the United States or the State of New
                              York or any political subdivision thereof, nor have the defendants
                              violated any act of Congress providing for the protection of civil
                              rights.

                             Defendants have not violated any clearly established constitutional or
                              statutory right of which a reasonable person would have known and,
                              therefore, are protected by qualified immunity.

                             At all times relevant to the acts alleged in the Second Amended
                              Complaint, defendants acted reasonably in the proper and lawful
                              exercise of their discretion.

                  o Defenses Which Are Not to Be Tried.

                             At all times relevant to the acts alleged in the Complaint, the duties
                              and functions of the City’s officials entailed the reasonable exercise of
                              proper and lawful discretion. Therefore, the City is entitled to
                              governmental immunity from liability. 2

                             Plaintiff may have failed to comply with the conditions precedent to
                              this lawsuit.




2
    The City is no longer a party to this action.
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                              Plaintiff has failed to comply with New York General Municipal Law
                               §§ 50(e), et. seq. 3

                              Punitive damages cannot be assessed against the City of New York. 4


V.        Trial by Jury.

          •   Plaintiff’s Statement. Plaintiff has requested a trial by jury and estimates the trial
              will take approximately three days.

          •   Defendants’ Statement. Defendants demand a trial by jury. Defendants estimate that
              any trial will take approximately three days.


VI.       Whether All Parties Consented to a Trial of a Case by a Magistrate Judge.

          The parties have not consented to a trial of the case by a magistrate judge.


VII.      Stipulations of Agreed Statements of Fact or Law.

          There are no stipulations of facts or law between the parties at this time.


VIII. List of Witnesses.

          •   Plaintiff’s Witnesses. A list of Plaintiff’s Witnesses is attached as Exhibit A. 5

          •   Defendants’ Witnesses. 6

                  o Lieutenant Matthew Harrison (in person testimony)

                  o Police Officer Giancarlo Maratea (in person testimony)


3
    Plaintiff is not pursuing any state law claims.
4
    The City is no longer a party.
5
  Defendants intend to move in limine to preclude the testimony of some of plaintiff’s nineteen
listed witnesses. Defendants respectfully reserve the right to call any of plaintiff’s witnesses
at trial.
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               o Police Officer Vanesa Medina (in person testimony)

               o Police Officer Raychel Campanella-Rivera (in person testimony)

               o Detective Michael Murphy (or another NYPD representative to testify about
                 plaintiff’s gun) (in person testimony)

               o Detective Elizabeth Cutrone (in person testimony)

               o Sergeant Emanuel Vizzotti (in person testimony)

               o N.I. (in person testimony)

               o Police Officer Michael Lamere (in person testimony)

               o Member of the NYPD Communications Division

               o Member of NYPD who will testify as to Body Worn Cameras and the
                 contents of Bates Nos. DEF0014091 – DEF0014097 (Body Worn Camera
                 Docketing Sheet)

IX.     Deposition Designations.

        •   Plaintiff’s Deposition Designations. 7

            Plaintiff does not intend to designate deposition testimony or prior statements but
            reserves the right to designate prior testimony if a witness becomes unavailable at
            trial. Plaintiff also reserves the right to utilize deposition testimony in any manner
            authorized by the Federal Rules of Evidence and the Federal Rules of Civil Procedure
            should it become necessary including, but not limited to, for purposes of
            impeachment. Plaintiff objects to Defendant’s use of deposition testimony for
            anything other than impeachment without a showing of unavailability satisfactory to
            the Court.

        •   Defendants’ Deposition Designations.

            Defendants are not designating any prior sworn testimony for their case-in-chief, but
            respectfully reserve the right to utilize deposition testimony in any manner authorized
            by the Federal Rules of Evidence and the Federal Rules of Civil Procedure should it
            become necessary including, but not limited to, for impeachment. Additionally,
            defendants object to use of deposition testimony of any witness not present at trial
7
  Defendants object to deposition excerpts without a showing that these witnesses are unavailable
for trial.
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           unless the party seeking to introduce such testimony has made a showing that the
           witness is unavailable as defined by Rule 804 of the Federal Rules of Evidence.

X.     List of Exhibits.

       •   Plaintiff’s Exhibits 8

     Plaintiff’s Exhibit                                     Defendants’ Objection
     Deposition of Plaintiff Lori Gjenashaj dated            Rule 402, Rule 403,
     2/10/2020                                               404(a)(1), Rule 802
     Deposition of Qamil Gjenashaj dated 7/1/2020            Rule 402, Rule 403,
                                                             404(a)(1), Rule 802
     Photos taken of Plaintiff Lori Gjenashaj without her    Rule 402, Rule 403
     consent while in hospital and sedated. PL000874 –
     PL000879
     Interviews of Police Officers Miguel Esteves,           Rule 402, Rule 403, Rule 802
     Michael D’Agostino, Brunilda Santana, and Antonio
     Orihuela: DEF0004666-DEF0005501 (pages 75, 86-
     92) or PL000418, PL000420
     Written Psychiatric Evaluation of Plaintiff by Ilene    Rule 402, Rule 403, Rule 802,
     Zwirn, MD. DEF0010755 – DEF0010774                      Rule 901
     Written Evaluation of Plaintiff by Kristen Slesar,      Rule 402, Rule 403, Rule 802,
     LCSW, PLLC. DEF0010751 – DEF10754                       Rule 901
     Written Psychiatric Evaluation of Plaintiff by Gary     Rule 402, Rule 403, Rule 802,
     Robert Collins, MD, FAPA. DEF0010609 –                  Rule 901
     DEF0010631
     Interview and Grand Jury Testimony of Police            Rule 402, Rule 403, Rule 802
     Officer Giancarlo Maratea. PL000519, PL-
     CAMPBELL_00000475 – PL-
     CAMPBELL_00000501
     Grand Jury Testimony of Police Officer Raychel          Rule 402, Rule 403, Rule 802
     Campanella-Rivera. DEF0004666 – DEF000550
     (page 97), PL-CAMPBELL_00000522 – PL-
     CAMPBELL_00000531
     Audio and Video footage taken from Body Worn            Rule 402, Rule 403, Rule 802
     Cameras on March 25, 2018. DEF0011835,
     DEF0011836, DEF0011837, DEF0011844,
     DEF0014695 or PL-CAMPBELL_00000775,
     NYPD Firearms Laboratory Report. DEF0011742,            Rule 402, Rule 403, Rule 802
     DEF0011957
     50-H Hearing Transcript dated 11/8/2018.                Rule 402, Rule 403, Rule 802

8
 Defendants intend to move in limine to preclude the introduction of certain exhibits by plaintiff,
such as the three psychiatric evaluations.
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          DEF0000435 – DEF0000555
          NYPD Crime Scene Unit Scene Report                      Rule 402, Rule 403, Rule 802
          DEF0001119 – DEF0001120
          Photo of 765 Nugent Avenue DEF0001280                   Rule 402, Rule 403, Rule 802
          Photo of Nugent Ave Garden Bed DEF0001284               Rule 402, Rule 403, Rule 802
          Photo of Plastic Bag with blank cartridges              Rule 402, Rule 403, Rule 802
          DEF0001285 – DEF0001286
          Relevant Portions of 911 Call from Nugent Ave           Rule 402, Rule 403, Rule 802
          Neighbor DEF0001822
          Relevant Portions of Radio Transmissions                Rule 402, Rule 403, Rule 802
          DEF0014695


            •   Defendants’ Exhibits 9 10 11


      No.       Defendants’ Exhibit                                           Plaintiff’s Objection
      A         Gun in plaintiff’s possession on March 25, 2018 and           Rule 402, Rule 403,
                associated NYPDPETS Property Clerk Invoice No.                Rule 802
                6000018525 (DEF0019834 – DEF0019835)
      B         Photo of gun in plaintiff’s possession on March 25, 2018      Rule 402, Rule 403,
                (Exhibit A at plaintiff’s deposition)                         Rule 802
      C         Indictment No. 137/2018                                       Rule 404 (b)(1), Rule
                (DEF0000193 – DEF0000202)                                     403
      D         NYC Police Department Police Laboratory Criminalistics        Rule 402, Rule 403,
                Section, Laboratory Report No. 3                              Rule 802
                (DEF0000394)
      E         NYC Police Department Police Laboratory Criminalistics        Rule 402, Rule 403,
                Section, Laboratory Report No. 5                              Rule 802
                (DEF0000397)
       F        Relevant Crime Scene Investigation Unit Photos                Rule 402, Rule 403,
                (DEF0000927 -- DEF0000935; DEF0001361 –                       Rule 802
                DEF0001389)
      G         911 Call from Mary Ibroci                                     Rule 403, Rule 802
                (DEF0001821)
      H          911 Call from Patrizia Iacono                                Rule 403, Rule 802
                (DEF0001824)
      I         Relevant Portions of Radio Transmission                       Rule 403, Rule 802

9
    Defendants respectfully reserve the right to use any of plaintiff’s designated exhibits at trial.
10
  Plaintiff intends to move in limine to preclude the use of the word “gun” by Defendants and
require the use of the term “starter pistol that fired blanks.”
11
     Plaintiff respectfully reserves the right to use any of Defendants’ designated exhibits at trial.
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     (DEF0001828)
J    Domestic Incident Report                                  Rule 403, Rule 802
     (DEF0001941)
K    Collision Report – Police Department Vehicle              Rule 403
     (DEF0001945)
L    Police Accident Report                                    Rule 403
     (DEF0001955 -- DEF0001956 )
M    Body Worn Camera Footage from Police Officer Raychel
     Campanella-Rivera (DEF0015103)
N     Body Worn Camera Footage from Police Officer Vanesa
     Medina (DEF0015102)
O    Body Worn Camera Docketing Sheet (DEF0014091 –
     DEF0014097)
P    Video of Lori Gjenashaj at 32 Sunnyside Terrace           Rule 403
     (DEF0005522)
Q    Videos of Lori Gjenashaj with the gun                     Rule 403
     (DEF0005590, DEF0005591, DEF0005592,
     DEF0005593, DEF0005595, DEF0005603)
R    Family Offense Petition                                   Rule 403, Rule 802
     (DEF0009830 – DEF0009831)
S    Order of Protection for Leila and Suzana Gjenashaj        Rule 403, Rule 802
     against Lori Gjenashaj (Bates stamp Nos. DEF0000367 –
     DEF0000368)
T    Photo of Gun (DEF0009883)                                 Rule 403
U    Prehospital Care Report Summary                           Rule 403, Rule 802
     (DEF0010099 – DEF0010105)
V    Relevant Memo Book Entries for Lieutenant Matthew         Rule 403, Rule 802
     Harrison (DEF0001942 -- DEF0001943)
W    Relevant Memo Book Entries for Police Officer Raychel     Rule 403, Rule 802
     Campanella-Rivera (DEF0014049 – DEF001450)
X    Relevant Memo Book Entries for Police Officer Giancarlo   Rule 403, Rule 802
     Maratea (DEF0014065 –DEF0014067; unredacted
     version may be provided in advance of trial)
Y    Relevant Memo Book Entries for Police Officer Vanesa      Rule 403, Rule 802
     Medina (DEF0014068 – DEF0014072)
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Dated: New York, New York
April 29, 2021



EDWARD STONE LAW                           JAMES E. JOHNSON
175 W. Putnam Ave., 2nd Floor              CORPORATION COUNSEL OF THE
Greenwich, CT 06830                           CITY OF NEW YORK
                                           Attorney for Defendants
                                           100 Church Street
                                           New York, New York 10007

By: ______________________________   By:   ___________________________________
   Edward S. Stone                         Brachah Goykadosh
   Attorney for Plaintiff                  Senior Counsel
                                           Special Federal Litigation
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               EXHIBIT A
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                                     PLAINTIFF’S WITNESSES

Plaintiff will call or will have available at trial the following witnesses. Plaintiff reserves the right to

call rebuttal witnesses whose testimony could not reasonably be anticipated without prior notice to

opposing counsel. In the event that other witnesses are to be called at trial, a statement of their

names, addresses, and the general subject matter of their testimony will be served upon opposing

counsel and filed with the Court prior to trial.

•       Lori Gjenashaj – all matters.
•       Qamil Gjenashaj - all matters.
•       Suzana Gjenashaj Lori’s mental state and recovery.
•       Kristen Slesar, LCSW, PLLC– general testimony with regards to Plaintiff’s state of mind and
        psychological history.
•       Cheryl Paradis, Psy.D. – general testimony with regards to Plaintiff’s state of mind and
        psychological history.
•       Ilene Zwirn, MD – general testimony with regards to Plaintiff’s state of mind and
        psychological history.
•       George Kuczabski, MD – general testimony about the gunshot wound sustained by Plaintiff
        on March 25, 2018
•       Christina Zhang, MD – general testimony about the gunshot wound sustained by Plaintiff on
        March 25, 2018
•       Lieutenant Matthew Harrison – all matters leading up to the shooting, matters pertaining
        to the Shooting and all matters following the shooting.
•       Police Officer Giancarlo Maratea – all matters leading up to the shooting, matters
        pertaining to the shooting and all matters following the shooting.
•       Police Officer Raychel Campanella-Rivera – all matters leading up to the shooting, matters
        pertaining to the shooting and all matters following the shooting.
•       Police Officer Vanesa Medina – all matters leading up to the shooting, matters
        pertaining to the shooting and all matters following the shooting.
•       Police Officer Brunila Santana – all matters leading up to the shooting.
•       Police Officer Antonio Orihuela – all matters leading up to the shooting.
•       Police Officer Michael D’Agostino– all matters leading up to the shooting.
